          Case 1:21-cr-00279-DLF Document 6-1 Filed 03/30/21 Page 1 of 2




                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                     March 30, 2021

Jose German, Assistant Federal Public Defender
Federal Public Defender for the District of Columbia
625 Indiana Avenue NW
Washington, D.C. 20004
Via ECF

        Re:     United States v. Ethan Seitz
                Case No. 21-MJ-325

Dear Counsel:

        I will be sharing a production of preliminary discovery in this case using the
government’s USAfx File Exchange System in the next few days. Although you may review the
entire discovery on the shared drive, in order to retain access to the discovery, you must
download it immediately. Once all uploaded materials are available for download, I will alert
you via email. If you have any questions regarding the provided discovery or are missing
something, feel free to call or email me. Please note that this discovery does not include
protective-order materials. I have sent you a proposed protective order that would permit the
government to share additional items in discovery.

        This production of preliminary discovery contains the following:

    •   Returns from a Facebook search warrant
    •   A recording of Seitz’s interview with the FBI on March 19, 2021
    •   302s relating to Seitz’s arrest and the search of his residence
    •   Videos posted to social media
    •   A warrant for the search of Seitz’s cell phone

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
         Case 1:21-cr-00279-DLF Document 6-1 Filed 03/30/21 Page 2 of 2




similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,

                                                      /s/ Alexis Loeb

                                                      Alexis Loeb
                                                      Assistant United States Attorney
                                                      Detailee




                                                 2
